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                                                                                  FILED
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION                  , 2OIS JUN IS P        25
UNITED STATES OF AMERICA, ex rel
                                                                          CLERK US DISTRICT COURT
DANE SMITH,                                                                 ALEXANDRIA, VIRGINIA
                       Plaintiffs,

       V.                                                    Civil Action No. I;10cv769
                                                             FILED UNDER SEAL
VMWARE, INC., and CARAHSOFT                                  Pursuant to 31 U.S.C. Section
TECHNOLOGY CORP.,                                            3730(b)(2)and (b)(3)

                                                             JCC/JFA


                       Defendants.




UNITED STATES' NOTICE OF INTERVENTION FOR PURPOSES OF SETTLEMENT

       The United States, Relator Dane Smith, and Defendants VMware Technology Inc. and

Carahsoft Technology Corporation (collectively, "Defendants") are in the process of executing a

settlement agreement that resolves the claims asserted by Relator on behalf of the United States in

this action. The United States respectfully advises the Court of its decision to intervene for the

purposes of settlement pursuant to 31 U.S.C. §§ 3730(b)(2) & (4).

       Under the terms and conditions of the settlement agreement, the United States and Relator

will file a Stipulation of Dismissal following the settlement payment from the Defendants which is

due within seven business days. To effectuate the terms of the Parties' agreement, the stipulated

dismissal will be with prejudice in part and without prejudice in part.

       Finally, the United States hereby requests that the Court unseal the Relator's Complaint,

the Relator's Amended Complaints, this Notice of Intervention, and all subsequent filings

following this Notice ofIntervention. The United Statesrespectfully requeststhat all other filings
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